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                           UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF FLORIDA

                          CASE NO. 05-60985-CIV-O’SULLIVAN
                                 [CONSENT CASE]

  ULYSSES J. HUDSON,

        Plaintiff,
  v.

  MICHAEL CHERTOFF, as
  Secretary of the United States
  Department of Homeland Security,

       Defendant.
  ____________________________/

                                          ORDER

        THIS MATTER comes before the Court on the Parties’ Notice Concerning their

  Meeting to Discuss Prejudgment Interest and Post-Judgment Interest (DE # 249,

  03/5/2007) and Defendant’s Position Regarding Outstanding Interest Matters (DE#

  251, 3/6/07). Having reviewed the applicable filings and law and having heard

  argument from counsel, for the reasons stated more fully below, it is

        ORDERED AND ADJUDGED that the plaintiff’s request for prejudgment interest

  on back pay and compensatory damages is GRANTED in part and DENIED in part as

  more fully discussed below. The final judgment in this action will include an award of

  prejudgment interest on the back pay award only. Post-judgment interest will accrue on

  all of the damages awarded in the Final Judgment. It is further

        ORDERED AND ADJUDGED that In accordance with this Order, the parties

  shall file with the Court by noon on Wednesday, March 28, 2007, a proposed final

  judgment that provides for back pay from February 26, 2005, through April 2, 2007,
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  plus prejudgment interest at the IRS adjusted prime rates pursuant to 28 U.S.C. § 1961

  compounded annually for the period between October 21, 2002, through the

  anticipated date of the judgment, April 2, 2007; compensatory damages in the amount

  of $300,000; and thirteen months of front pay commencing from April 2, 2007. Post-

  judgment interest will accrue on the entire final judgment pursuant to 28 U.S.C. §

  1961(a).

                                      INTRODUCTION

         A jury returned a verdict in favor of the plaintiff’s claims against the government

  for discrimination under the Rehabilitation Act of 1973, 29 U.S.C. 701, et seq., and for

  retaliation under Title VII of the Civil Rights Act of 1964, 42 U.S.C. 2000, et seq. In

  accordance with the verdict and the statutory cap on compensatory damages, this

  Court has previously determined that the plaintiff is entitled to an award for back pay;

  an award for compensatory damages in the amount of $300,000;1 and an award for

  future pay for a period of eighteen months from November 1, 2001.

         In this Court’s Order dated February 12, 2007 (DE# 243), the undersigned

  determined that the plaintiff was entitled to eighteen months of front pay as of

  November 1, 2006.2 In accordance with this Court’s February 12, 2007 Order (DE# ),

  the parties conferred and discussed the issue of the amount of front pay. Pursuant to



         1
          The verdict awarded the amount of $1.5 million for compensatory damages for
  the plaintiff’s emotional pain and mental anguish. Pursuant to 42 U.S.C. § 1981a, that
  amount is capped at $300,000.
         2
           The plaintiff’s expert, Antonio Argiz, calculated back pay through the day before
  trial, October 31, 2006, and front pay starting on November 1, 2006.

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  the Parties’ Notice Regarding Conference Concerning Front Pay, the parties agreed

  that if the Court uses the methodology of plaintiff’s expert, Antonio Argiz, the 18-month

  front pay calculation(commencing November 1, 2006) for the amount set forth in the

  Order is $90,575.42.

         The plaintiff requests prejudgment interest on his compensatory damages as

  well as his back pay. The parties agree that the plaintiff is entitled to prejudgment

  interest on his back pay, but disagree as to whether he is entitled to prejudgment

  interest on his compensatory damages. Additionally, the plaintiff seeks post-judgment

  interest on the final judgment. Without citation of any authority, the government argues

  that it is not liable for post-judgment interest.

                                  PREJUDGMENT INTEREST

         The Plaintiff is Entitled to Prejudgment Interest on His Back Pay Award

         During the hearing held on March 7, 2007, the parties agreed that the plaintiff is

  entitled to prejudgment interest on the back pay award. Due to the filing of the parties’

  post-trial motions, entry of the final judgment has been delayed by approximately five

  (5) months from the date of the verdict. The computation of back pay for the time

  period immediately before the trial is the same as the computation for front pay after the

  trial. The Court has and will continue to use the October 31, 2006, date used by the

  plaintiff’s expert, Mr. Argiz, to assign damages for back pay and front pay. Five months

  of the front pay must be re-categorized as back pay for the period between the trial and

  entry of the final judgment, which is anticipated to be on Monday, April 2, 2007,

  provided the Court accepts and approves the parties’ proposed final judgment that will


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  be required to be filed by March 28, 2007. Pre-judgment interest will accrue on the

  total amount of the back pay.3

         The parties agree that the applicable prejudgment rate is the IRS adjusted prime

  rates pursuant to 28 U.S.C. § 1961 compounded annually for the period between

  October 21, 2002, through the date of the judgment. Weaver v. Casa Gallardo, Inc.,

  922 F.2d 1515, 1528 (11th Cir. 1991); Richardson v. Tricom Pictures & Productions,

  Inc., 334 F. Supp. 2d 1303, 1314 (S.D. Fla. 2004).

         The Plaintiff Is Not Entitled to Prejudgment Interest on His Compensatory
         Damages Award

         The parties disagree as to whether the plaintiff may recover prejudgment interest

  on his compensatory damages for emotional pain and mental anguish. In its verdict,

  the jury awarded compensatory damages in the amount of $1.5 million. This Court has

  determined that the plaintiff’s compensatory damages are capped at $300,000 pursuant

  to 42 U.S.C. § 1981a.

         An award of prejudgment interest is discretionary under Title VII and the

  Retaliation Act. See Armstrong v. Charlotte County Board of County Commissioners,

  273 F. Supp. 2d 1312, 1314 (M.D. Fla. 2003) (acknowledging that prejudgment interest

  is equitable relief within the province and discretion of the trial judge). In exercising its

  discretion, this Court is guided by the common law. See, Rau v. Apple-Rio

  Management Co., 85 F. Supp. 2d 1344, 1349 (N.D. Ga. 1999), aff’d, 251 F.3d 161




         3
           Thirteen months of front pay will remain and be awarded from the date of the
  final judgment.

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  (11th Cir. 2001).4 The common law generally precludes accrual of prejudgment interest

  on compensatory damages for personal injuries.

        Under the common law, prejudgment interest was generally allowed only
        for liquidated damages or, in some cases, for unliquidated damages that
        were ‘relatively certain and ascertainable by reference to established
        market values.’

  Id. (quoting General Motors Corp. v. Devex Corp., 461 U.S. 648, 652 n.5 (1983) (other

  citations omitted). “[P]rejudgment interest is generally not allowed for damages, such

  as those at issue here, intended to compensate for personal injuries.” Id. (citations

  omitted).

        Back pay and interest on back pay5 are expressly excluded from the statutory

  cap on compensatory damages. 42 U.S.C. § 1981a(b)(2). Subsection § 1981a(b)(2)

  provides that

        Compensatory damages awarded under this section shall not include
        backpay, interest on backpay, or any other type of relief authorized under
        section 706(g) of the Civil Rights Act of 1964 [42 U.S.C.A. § 2000e-5(g)].

  42 U.S.C. § 1981a(b)(2). The express terms of the statute permit back pay and interest



        4
         The Eleventh Circuit affirmed the district court without opinion. Pursuant to
  Eleventh Circuit Court Rule 36-2, unpublished opinions are not considered binding
  precedent but may be cited as persuasive authority.
        5
         “Title VII authorizes prejudgment interest as part of the backpay remedy ... The
  backpay award authorized by [Title VII] is a manifestation of Congress’ intent to make
  persons whole for injuries suffered through past discrimination. Prejudgment interest,
  of course, is an element of complete compensation.” Loeffler v. Frank, 486 U.S. 549,
  558-59 (1988) (awarding prejudgment interest on the back pay award). “An award of
  prejudgment interest adjusts the back pay award for inflation and reflects the present
  day value of income that should have been paid to the claimant in the past.” E.E.O.C. v.
  Joe’s Stone Crab, 15 F. Supp. 2d 1364, 1379 (S.D. Fla. 1998); Richardson v. Tricom
  Pictures & Productions, Inc., 334 F. Supp. 2d 1303, 1314(S.D. Fla. 2004).

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  on back pay to exceed the statutory cap of $300,000. Prejudgment interest on

  compensatory damages is not expressly authorized by 42 U.S.C. § 1981a, which

  provides the statutory cap for compensatory damages. In the present action, sub-

  section 1981a(b)(3)(D) provides that the sum of the amount of compensatory damages

  awarded shall not exceed $300,000. Sub-section 1981a(b)(3)(D) provides in pertinent

  part:

          The sum of the amount of compensatory damages awarded under this
          section for future pecuniary losses, emotional pain, suffering,
          inconvenience, mental anguish, loss of enjoyment of life, and other
          nonpecuniary losses, ... shall not exceed, for each complaining party–
                 (D) in the case of a respondent who has more than 500 employees
          in each of 20 or more calendar weeks in the current or preceding year,
          $300,000.

  42. U.S.C. § 1981a(b)(3)(D). The government did not waive sovereign immunity in

  excess of $300,000 for compensatory damages.

          In dicta, the district court in Rau, 85 F. Supp. 2d 1344, 1349 (N.D. Ga. 1999),

  aff’d, 251 F.3d 161 (11th Cir. 2001),6 opined that

          a strong argument could be made that the statute precludes an award of
          interest [on compensatory damages] that would push the total award over
          the statutory cap ... [P]laintiff seeks interest on damages intended to
          compensate her for personal injuries, the value of which could not have
          been readily ascertained prior to trial. These are the types of damages
          for which prejudgment interest has traditionally been denied.

  Rau, 85 F. Supp. 2d at 1349.

          Neither party cited any Eleventh Circuit authority that analyzes the issue of



          6
         The Eleventh Circuit affirmed the district court without opinion. Pursuant to
  Eleventh Circuit Court Rule 36-2, unpublished opinions are not considered binding
  precedent but may be cited as persuasive authority.

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  prejudgment interest on compensatory damages against the government within the

  context of the $300,000 statutory cap. (DE# 250, 3/5/07). The plaintiff’s cases that

  awarded prejudgment interest on compensatory damages are inapposite. None of the

  plaintiff’s cited authorities involve actions against the federal government and they did

  not discuss the statutory cap. In the cases that awarded prejudgment interest, the total

  amount of compensatory damages and prejudgment interest awarded were well below

  the statutory cap.

        Pursuant to 42 U.S.C. § 1981a, the government expressly waived sovereign

  immunity for liability for compensatory damages up to $300,000. Subsection 2000e-

  16(d) of Title 42 does not expand the express limited waiver:

        The provisions of section 2000e-5(f) through (k) of this title, as applicable,
        shall govern civil actions brought hereunder, and the same interest to
        compensate for delay in payment shall be available in cases involving
        nonpublic parties.

  The plaintiff is not entitled to prejudgment interest on the $300,000 compensatory

  damage award for two reasons. First, the government’s liability for compensatory

  damages including any prejudgment interest is limited to $300,000. Second,

  prejudgment interest is generally not permitted for the kind of uncertain non-liquidated

  damages represented by the $300,000 in compensatory damages.

                               POST-JUDGMENT INTEREST

        The federal government is liable in Title VII actions for interest to compensate

  for delay in payment to the same extent as private parties. 42 U.S.C. § 2000e-16(d)

  (1991) (“... the same interest to compensate for delay in payment shall be available as



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  in cases involving nonpublic parties.”). See Estate of Reynolds v. Martin, 985 F.2d

  470, 472 (9th Cir.1993) Post-judgment interest will accrue on the Final Judgment

  pursuant to 28 U.S.C. § 1961(a) (2000) (“Interest shall be allowed on any money

  judgment in a civil case recovered in a district court... Such interest shall be calculated

  from the date of the entry of judgment, at a rate equal to the weekly average 1-year

  constant maturity Treasury yield, as published by the Board of Governors of the

  Federal Reserve system, for the calendar week preceding.”). See E.E.O.C. v. Guardian

  Pools, 828 F.2d 1507, 1512-13 (11th Cir. 1987) (awarding post-judgment interest on

  back pay pursuant to 28 U.S.C. § 1961(a) (1982)).

         DONE AND ORDERED, in Chambers, at Miami, Florida, this 23rd day of

  March, 2007.


                                            JOHN J. O’SULLIVAN
                                            UNITED STATES MAGISTRATE JUDGE
  Copies furnished to:
  All Counsel of Record




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